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               Facebook Resources

               Help Center


               Privacy Basics


               Safety Center


               About Facebook Ads


               For Business


               For Developers


               For Media

               For Creators

               For Nonprofits


               Brand Resources

               Careers


               Meta Verified

               Family Center


https://about.meta.com/technologies/facebook-app/
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